Case 1:17-cr-00232-EGS Document 133-15 Filed 11/01/19 Page 1 of 1




               FLYNN MEETINGS WITH SCO AND PROSECUTORS &
                   GOVERNMENT PRODUCTIONS OF DOCS
 Date                 With Whom                   Person Interviewed
 Nov. 16, 2017        SCO                         Flynn
 Nov. 17, 2017        SCO                         Flynn
 Nov. 20, 2017        SCO                         Flynn
 Nov. 21, 2017        SCO                         Flynn
 Nov. 22, 2017        SCO produces 302 (final)
 Nov. 29, 2017        SCO                         Flynn agreed to plead
 Nov. 30, 2017        SCO                         Plea agreement signed
 Jan. 11, 2018        SCO                         Flynn
 Jan. 19, 2018        SCO                         Flynn
 Jan. 24, 2018        SCO                         Flynn
 March 1, 2018        SCO                         CB Phone Call
 March 13, 2018       First Government Production
 Apr. 25, 2018        SCO                            Flynn
 May 1, 2018          SCO                            Flynn
 May 4, 2018          SCO                            Flynn
 May 17, 2018         SCO                            Flynn
 May 23, 2018         SCO                            Flynn
 May 25, 2018         Second Gov. Production
 June 1, 2018         Third Gov. Production
 June 13, 2018        SCO                            Flynn
 June 14, 2018        SCO                            Flynn
 June 24, 2018        Fourth Gov. Production
 June 25, 2018        EDVA                           Flynn
 July 26, 2018        EDVA                           Flynn
 July 26, 2018        SCO                            Flynn
 Sept. 17, 2018       SCO                            Flynn
 Oct. 4, 2018         Fifth Gov. Production Letter
 Oct. 24, 2018        CB Call with SCO
 Nov. 8, 2018         Gov. reply to Oct. 15 letter
                      from CB
 Nov. 15, 2018        CB Call with SCO
 Dec. 14, 2018        Sixth Production Letter
 Dec. 17, 2018        CB Call with SCO
 Dec. 18, 2018        Scheduled Sentencing           POSTPONED
 Jan. 28, 2019        EDVA                           Flynn
 Feb. 5, 2019         EDVA                           Flynn
 Feb. 28, 2019        EDVA                           Flynn
 Apr. 5, 2019         EDVA                           Flynn
 June 6, 2019         EDVA                           Flynn
 June 25, 2019        EDVA                           Flynn
 August 16, 2019      Seventh Gov. Production
                      letter
